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GASD First Step Act Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(1)(B)      Page I of2(Page 2 Not for P_ublic pisciosure)

                                                                                                                              U.S. DISTRICT COURT
                                         United States District Court                                                              AUG'JS^FA TiV.
                                                                         for the
                                                                                                                             2019 HAR i9 PH it: 05
                                                          Southern District of Georgia
                                                                Statesboro Division
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                                                                                                                                   SO. D^r.           GA.
                     United States of America
                                    V.                                      )
                                                                            ) Case No:          6:05CR00018-1 __
                            Jimmy Anfield                                   )
                                                     ) USMNo: _I2366-021
Date of Original Judgment:         December 13,2005 ^
Date of Previous Amended Judgment: January 9, 2012 _ ^ Martha-Ann Kirkland
(Use Date ofLast Amended Judgment ifAny)                                         Defendant's Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                         PURSUANT TO 18 U.S.C.§ 3582(c)(1)(B)
          Upon motion of ^ the defendant D the Director of the Bureau of Prisons □ the court under 18 U.S.C.
§ 3582(c)(1)(B) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 115-391, and
having considered such motion, and taking into account the policy statement set forth at USSG § IB 1.10 and the
sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
          ^ DENIED,            n GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
the lastjudgment issued) of                                             months is reduced to                                                     .
                                              (Complete Parts ! and II ofPage 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                        Januaiy 9^,2012,     ^shall remain in effect.
IT IS SO ORDERED.


Order Date:
                                                                                                              signature


Effective Date:                                                         Randal         Chief Judge
                                                                                      District Court
                                                                      Southern District of Georgm
                     (if differentfrom order date)                                                  Printed name and title
